                   UNITED STATES COURT OF APPEALS                      FILED
                          FOR THE NINTH CIRCUIT                        DEC 28 2020
                                                                   MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS
PANGEA LEGAL SERVICES; DOLORES                No.   20-17490
STREET COMMUNITY SERVICES;
CATHOLIC LEGAL IMMIGRATION                    D.C. No. 3:20-cv-07721-SI
NETWORK, INC.; CAPITAL AREA                   Northern District of California,
IMMIGRANTS' RIGHTS COALITION,                 San Francisco

               Plaintiffs-Appellees,          ORDER

 v.

U.S. DEPARTMENT OF HOMELAND
SECURITY; CHAD F. WOLF, Secretary of
Homeland Security; KENNETH T.
CUCCINELLI, Deputy Secretary of the
Department of Homeland Security; U.S.
CITIZENSHIP AND IMMIGRATION
SERVICES; U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT; TONY H.
PHAM, Director of U.S. Immigration and
Customs Enforcement; U.S. CUSTOMS
AND BORDER PROTECTION; MARK A.
MORGAN, Commissioner of U.S. Customs
and Border Protection; UNITED STATES
DEPARTMENT OF JUSTICE; WILLIAM
P. BARR, Attorney General; EXECUTIVE
OFFICE FOR IMMIGRATION REVIEW;
JAMES MCHENRY, Director of the
Executive Office for Immigration Review,

               Defendants-Appellants.

      The appeal filed December 23, 2020 is a preliminary injunction appeal.

Accordingly, Ninth Circuit Rule 3-3 shall apply.



AC/MOATT
      The mediation questionnaire is due three days after the date of this order.

      If they have not already done so, within 7 calendar days after the filing date

of this order, the parties shall make arrangements to obtain from the court reporter

an official transcript of proceedings in the district court that will be included in the

record on appeal.

      The briefing schedule shall proceed as follows: the opening brief and

excerpts of record are due not later than January 20, 2021; the answering brief is

due February 17, 2021 or 28 days after service of the opening brief, whichever is

earlier; and the optional reply brief is due within 21 days after service of the

answering brief. See 9th Cir. R. 3-3(b).

      No streamlined extensions of time will be approved. See 9th Cir. R. 31-

2.2(a)(3). Any request for an extension of time to file a brief must be made by

written motion under Ninth Circuit Rule 31-2.2(b).

      Failure to file timely the opening brief shall result in the automatic dismissal

of this appeal by the Clerk for failure to prosecute. See 9th Cir. R. 42-1.

                                                   FOR THE COURT:

                                                   MOLLY C. DWYER
                                                   CLERK OF COURT


                                                   By: Alex Christopher
                                                   Deputy Clerk
                                                   Ninth Circuit Rule 27-7


AC/MOATT                                   2
